
7 N.Y.2d 871 (1959)
Margaret A. Berg, an Infant by Robert Berg, Her Guardian ad Litem, Plaintiff, and Robert Berg, Respondent,
v.
Town of Huntington, Appellant, et al., Defendant. Town of Huntington, Third-Party Plaintiff-Appellant,
v.
Margaret Berg, Third-Party Defendant-Respondent.
Court of Appeals of the State of New York.
Argued October 5, 1959.
Decided December 30, 1959.
Richard C. Cahn, Charles T. Matthews and Irving Cahn for appellant and third-party plaintiff-appellant.
Sidney J. Loeb and M. MacDonald Robison for respondent and third-party defendant-respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Judgment affirmed, with costs. Since the town may here be held liable in damages to plaintiff only on evidence that it was guilty solely of active negligence, the town is not privileged to proceed against other alleged tort-feasors. Consequently, its cross claim and third-party complaint were properly dismissed. No opinion.
